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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.      2:20-cv-02738-FMO-SHK                                  Date: May 27, 2022
  Title: Jeremy White v. Ironwood State Prison, et al.



  Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge


                D. Castellanos                                           Not Reported
                Deputy Clerk                                            Court Reporter


     Attorney(s) Present for Plaintiff(s):                  Attorney(s) Present for Defendant(s):
                None Present                                             None Present


  Proceedings (IN CHAMBERS): FINAL ORDER TO SHOW CAUSE RE: FAILURE TO
                             COMPLY WITH COURT’S CASE MANAGEMENT
                             ORDER

         On November 15, 2021, the Court issued its Case Management and Scheduling Order
 (“CMO”) and, in pertinent part, ordered the parties to file their status report by April 11, 2022.
 Electronic Case Filing Number (“ECF No.”) 57, CMO at 3. The CMO also contained directions
 regarding the information to be included by each party in their status reports. Id. at 3-4.
 Defendant K. Pollich (“Defendant”) timely filed a status report. See ECF No. 59, Def.’s Status
 Report. Plaintiff Jeremy White (“Plaintiff”), however, failed to file his status report, and on
 April 22, 2022, the Court issued an Order to Show Cause (“OSC”) by May 6, 2022, why
 Plaintiff’s “case should not be dismissed for failure to prosecute and follow Court orders[.]”
 ECF No. 60, OSC at 1. Plaintiff was instructed that he could satisfy the OSC “by filing his status
 report or requesting an extension of time to do so by the deadline[.]” Id.

          On May 26, 2022, the Court received a document from Plaintiff entitled “Order to Show
 Cause Re: Plaintiff’s Response to the Order to Show Cause” (“Response” or “Resp.”). ECF No.
 65, Resp. The Response does not contain sufficient information, as required per the instructions
 in the CMO, to constitute a status report, nor does it contain a request for an extension of time to
 file a status report. Id.

        Accordingly, Plaintiff is given one final opportunity and is ORDERED TO SHOW
 CAUSE by June 14, 2022, why this case should not be dismissed for failure to prosecute and
 follow Court orders. Plaintiff can satisfy this order by filing his status report or requesting an
 extension of time to do so by the deadline stated above. Plaintiff is warned that because the

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 deadline to file a status report has already passed, extensions of time to do so will be granted
 very sparingly, only for extremely good cause shown, and if requested by the deadline stated
 above.

          Plaintiff is further warned that failure to timely satisfy this order will result in dismissal
 of this action with or without prejudice for failure to prosecute and follow Court orders.

         IT IS SO ORDERED.




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